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 1   DOWNEY BRAND LLP
     CHRISTIAN L. MARSH (Bar No. 209442)
 2   455 Market Street, Suite 1500
     San Francisco, CA 94105
 3   Telephone: (415) 848-4800
     Facsimile: (415) 848-4801
 4   cmarsh@downeybrand.com
 5   James Kaste, WSB No. 6-3244 (pro hac vice)
     Deputy Attorney General
 6
     Wyoming Attorney General’s Office
 7   2320 Capitol Avenue
     Cheyenne, Wyoming 82002
 8   Telephone: (307) 777-7895
     Facsimile: (307) 777-3542
 9   james.kaste@wyo.gov
10
     Counsel for the State of Wyoming
11

12                               UNITED STATES DISTRICT COURT
13                            NORTHERN DISTRICT OF CALIFORNIA
14

15
      STATE OF CALIFORNIA, et al.,
16
                       Plaintiffs,                     Case No. 4:18-cv-05712-YGR
17
             v.                                     (Consolidated with Case No. 4:18-cv-5984-YGR)
18
      UNITED STATES BUREAU OF LAND                     STATE OF WYOMING’S NOTICE OF
19    MANAGEMENT, et al.,                              APPEAL
20                     Defendants.
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                        State of Wyoming’s Notice of Appeal – Case No. 4:18-cv-05712-YGR
                                  (Consolidated with Case No. 4:18-CV-5984-YGR)
       Case 4:18-cv-05712-YGR Document 181 Filed 09/14/20 Page 2 of 2



 1          Please take notice that Defendant-Intervenor State of Wyoming hereby appeals to the
 2   United States Court of Appeals for the Ninth Circuit this Court’s July 15, 2020 Order: (1)
 3   Granting Plaintiffs’ Motions for Summary Judgment; and (2) Denying Defendants’ Motions for
 4   Summary Judgment in these consolidated cases, California v. Bernhardt, No. 4:18-cv-05712-
 5   YGR, and Sierra Club v. Bernhardt, No. 4:18-cv-05984-YGR.
 6          DATED this 14th day of September, 2020.
 7

 8                                         /s/ James Kaste
                                           James Kaste, WSB No. 6-3244 (pro hac vice)
 9                                         Deputy Attorney General
                                           Wyoming Attorney General’s Office
10                                         2320 Capitol Avenue
                                           Cheyenne, WY 82002
11
                                           (307) 777-7895 (phone)
12                                         (307) 777-3542 (fax)
                                           james.kaste@wyo.gov
13
                                           Counsel for the State of Wyoming
14

15                                         DOWNEY BRAND LLP
16
                                           /s/ Christian L. Marsh
17                                         CHRISTIAN L. MARSH (Bar No. 209442)
                                           455 Market Street, Suite 1500
18                                         San Francisco, CA 94105
                                           Telephone: (415) 848-4800
19                                         Facsimile: (415) 848-4801
                                           cmarsh@downeybrand.com
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